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       If you own or have more than one, list here:
 1.2                                                               What is the property? Check all that apply

       Street address, if available, or other description
                                                                         Single-family home                               Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
                                                                         Duplex or multi-unit building
                                                                                                                           Creditors Who Have Claims Secured by Property .
                                                                         Condominium or cooperative

                                                                         Manufactured or mobile home
                                                                                                                           Current value of the         Current value of the
                                                                         Land                                             entire property?             portion you own?
       City                             State           ZIP Code         Investment property                                    $160,000.00                    $160,000.00
                                                                      Timeshare                                           Describe the nature of your ownership interest
                                                                         Other                                            (such as fee simple, tenancy by the entireties, or
                                                                   Who has an interest in the property? Check one          a life estate), if known.
                                                                         Debtor 1 only
                                                                         Debtor 2 only
       County                                                            Debtor 1 and Debtor 2 only
                                                                                                                               Check if this is community property
                                                                      At least one of the debtors and another                (see instructions)
                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:

                                                                   Time Share, Hilton Grand Vacations. Debtors signed the property back to
                                                                   Hilton Grand, but are not certain if it has been completed by the Creditor


       If you own or have more than one, list here:
 1.3                                                               What is the property? Check all that apply

                                                                         Single-family home                               Do not deduct secured claims or exemptions. Put
       5092 Mountain Gate Cir                                                                                              the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                         Duplex or multi-unit building
                                                                                                                           Creditors Who Have Claims Secured by Property .
                                                                      Condominium or cooperative
                                                                         Manufactured or mobile home
                                                                                                                           Current value of the         Current value of the
       Lakeside                         AZ         85929-5885            Land                                             entire property?             portion you own?
       City                             State           ZIP Code         Investment property                                    $280,000.00                    $280,000.00
                                                                         Timeshare
                                                                                                                           Describe the nature of your ownership interest
                                                                         Other                                            (such as fee simple, tenancy by the entireties, or
                                                                   Who has an interest in the property? Check one          a life estate), if known.
                                                                         Debtor 1 only
       Navajo                                                            Debtor 2 only
       County                                                         Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                         At least one of the debtors and another
                                                                                                                              (see instructions)
                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $813,700.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:      Ram                                      Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     2500                                      Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:      2015                                      Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:                   3834         Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                   At least one of the debtors and another

                                                              Check if this is community property                             $33,275.00                 $30,403.00
                                                                  (see instructions)



  3.2    Make:      Jeep                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     Wrangler                                  Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:      2016                                      Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                   At least one of the debtors and another

                                                              Check if this is community property                             $29,138.00                 $29,138.00
                                                                  (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $59,541.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Stove ($110), Refrigerator ($50), Washing Machine ($600), Dryer
                                   ($600), Vacuum Cleaner ($10), Kitchen Table and Chairs ($15),
                                   Dining Room Table and Chairs ($200), Couch ($150), Chair ($150),
                                   End Tables ($50), Beds ($unknown), Nightstands ($10), Bedding
                                   ($10), Radio ($2), Television ($100), Stereo ($250), Alarm Clock
                                   ($5), Computer ($500), Printer ($150)                                                                                    $3,162.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.    Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
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    Yes.        Describe.....
                                            Pictures                                                                                                                 $100.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
             instruments
    No
    Yes.        Describe.....
                                            Sewing Machine                                                                                                             $50.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Clothing                                                                                                                 $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes.        Give specific information.....
                                            Wedding Rings                                                                                                            $600.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                              $4,412.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:

                                                                                                 Wells Fargo
                                              17.1.                                              Badgley Family Trust                                                $400.77

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18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                  Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
    Yes.      Give specific information about them...................
                                     Name of entity:                                                        % of ownership:
                                        Badgley Books of Arizona Limited Liability
                                        Company                                                                100.00         %                unknown

                                        Badgley Wetjen Holding, LLC
                                        Successor to The Logistics Group, LLC, parent
                                        company of TLG Transportation, LLC. Chapter 7
                                        BK filed Dec. 2, 2014, 14-17802                                        100.00         %                   $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                        Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                     Type of account:                      Institution name:
                                                                           State Teacher Retirement - Arizona                                 $12,000.00

                                                                           State Teacher Retirement - Ohio                                    $42,000.00


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
   Yes. .....................                                    Institution name or individual:
                                                                           New Landlord                                                        $2,700.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............         Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...



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27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                                              Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:
                                           Kyrene Schools Term Life Policy
                                           50k                                                                                                                                 $0.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................             $67,100.77

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
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    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                $813,700.00
 56. Part 2: Total vehicles, line 5                                                                           $59,541.00
 57. Part 3: Total personal and household items, line 15                                                       $4,412.00
 58. Part 4: Total financial assets, line 36                                                                  $67,100.77
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $131,053.77               Copy personal property total           $131,053.77

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $944,753.77




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